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 8                       UNITED STATES DISTRICT COURT
 9                  FOR THE CENTRAL DISTRICT OF CALIFORNIA
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11
     REX SCHELLENBERG, an individual            CASE NO.: 2:18-cv-07670-CAS-PLA
                                                [Assigned to the Hon. Christina A.
12                             Plaintiff,       Snyder]
13      v.
                                                [PROPOSED] ORDER RE:
14 THE CITY OF LOS ANGELES, a
   municipal entity, DOES 1-10,                 STIPULATED REQUEST TO
15                                              CONTINUE DATES TO COMPLETE
                                                ADR AND EXCHANGE EXPERT
16                                              REPORTS
                              Defendant.
17
                                                Date: January 13, 2020
18                                              Time: none
19                                              Ctrm: 8B
                                                Judge: Hon. Christina A. Snyder
20
21                                              Action filed: Sept. 3, 2018
22                                              Status Conf: March 2, 2020
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               [PROPOSED] ORDER RE: STIPULATED REQUEST TO CONTINUE ADR COMPLETION
                                   AND EXPERT REPORT EXCHANGE
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 1         The parties to the above-captioned action submitted a STIPULATED REQUEST
 2   TO CONTINUE ADR COMPLETION AND VACATE THE DATE FOR EXPERT
 3   REPORT EXCHANGES. Both events are currently set to occur on January 13, 2020.
 4         The parties informed the Court that they are engaged in settlement discussions and
 5   believe that they will reach agreement, avoiding the necessity to expend time to provide
 6   information on experts in anticipation of going to trial. The parties require additional
 7   time to complete settlement discussions.
 8         Accordingly, they request that the Court extend the time to complete ADR to and
 9   through February 28, 2020. The parties will be prepared to address the settlement at the
10   Status Conference now set for March 2, 2020.
11         IT IS SO ORDERED: the time to complete settlement is now set for February 28,
12   2020. If the parties are unable to reach settlement, the Court will set a new date for
13   exchange of expert reports at the presently scheduled March 2, 2020 Status Conference.
14
15   DATED:
                                            UNITED STATES DISTRICT JUDGE
16
17
18
19   Lodged by:
20
     LAW OFFICE OF CAROL A. SOBEL
21
22 By: /s/ Carol A. Sobel
   CAROL A. SOBEL
23 Attorneys for Plaintiff SCHELLENBERG
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                [PROPOSED] ORDER RE: STIPULATED REQUEST TO CONTINUE ADR COMPLETION
                                    AND EXPERT REPORT EXCHANGE
